
USCA1 Opinion

	












                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________

          No. 95-1501

                          ARTHUR F. SAWTELLE, ETC., ET AL.,

                               Plaintiffs, Appellants,

                                          v.

                              GEORGE E. FARRELL, ET AL.,

                                Defendants, Appellees.

                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW HAMPSHIRE

                   [Hon. Steven J. McAuliffe, U.S. District Judge]
                                              ___________________

                                 ____________________

                                        Before

                           Selya and Stahl, Circuit Judges,
                                            ______________

                             and Gorton,* District Judge.
                                          ______________

                                _____________________

               Stanley M.  Brown, with whom Mark A.  Abramson and Abramson,
               _________________            _________________     _________
          Reis, Brown &amp; Dugan were on brief for appellants.
          ___________________
               Joseph  M.  Kerrigan,  with  whom Timothy  G.  Kerrigan  and
               ____________________              _____________________
          Hamblett &amp; Kerrigan, P.A.  were on brief for appellees  George E.
          _________________________
          Farrell and Speiser, Krause,  Madole &amp; Lear; Joel S.  Perwin with
                                                       _______________
          whom Paul  R. Kfoury and Kfoury &amp; Elliott, P.A. were on brief for
               _______________     ______________________
          appellees  Michael  S.  Olin and  Podhurst,  Orseck,  Josefsberg,
          Eaton, Meadow, Olin &amp; Perwin, P.A.



                                 ____________________

                                   December 5, 1995
                                 ____________________
                              
          ____________________

          *  Of the District of Massachusetts, sitting by designation.














                    GORTON,  District  Judge.    New  Hampshire  residents,
                    GORTON,  District  Judge.
                             _______________

          Arthur  and  Judith Sawtelle  (the  "Sawtelles"),  filed a  legal

          malpractice action  in the United  States District Court  for the

          District  of  New Hampshire  to  recover damages  sustained  as a

          result of the alleged  negligence of two attorneys and  their law

          firms  with respect to litigation in  the State of Florida.  None

          of the defendant-attorneys resides  in New Hampshire, nor  is any

          one of them licensed to practice law there.  The defendants moved

          to  dismiss  the  complaint  for lack  of  specific  in  personam
                                                               __  ________

          jurisdiction  and  the   district  court   allowed  the   motion.

          Plaintiffs filed the present appeal.  We affirm.



          I.  Standard of Review
          I.  Standard of Review

                    When reviewing a district court's ruling on a motion to

          dismiss  an action for failure  to make a  prima facie showing of

          personal jurisdiction over a defendant, the appellate court draws

          the  facts  from the  pleadings  and  the parties'  supplementary

          filings, including affidavits, taking facts affirmatively alleged

          by the plaintiff as true and  viewing disputed facts in the light

          most  favorable to  plaintiff.   Ticketmaster-New  York, Inc.  v.
                                           ____________________________

          Alioto,  26 F.3d 201, 203  (1st Cir. 1994);  Kowalski v. Doherty,
          ______                                       ________    ________

          Wallace, Pillsbury &amp; Murphy, 787 F.2d 7, 9 (1st Cir.  1986).1  In
          ___________________________

          so  doing, however, "we  do not credit  conclusory allegations or

                              
          ____________________

          1   Where the  district court  considers such  a motion   without
          holding  an evidentiary  hearing,  that court  applies the  prima
          facie  standard.  United Elec.  Workers  v.  163 Pleasant  Street
                            _____________________      ____________________
          Corp., 987 F.2d 39, 43 (1st Cir. 1993) ("Pleasant St. II").
          _____

                                         -2-














          draw  farfetched  inferences."   Ticketmaster,  26  F.3d at  203.
                                           ____________

          Because  the  district court  makes  a  legal determination  when

          applying the prima  facie standard,  review by this  Court is  de
                                                                         __

          novo (nondeferential).  Boit v. Gar-Tec Products,  Inc., 967 F.2d
          ____                    ____    _______________________

          671, 675 (1st Cir. 1992).



          II.  Background
          II.  Background

                    On May 21, 1989, the plaintiffs' son, Corey, was killed

          when  the aircraft he was  flying, as a  pilot under instruction,

          was struck  over the New Hampshire-Vermont border  by an aircraft

          from Florida.   Several months later, the  Sawtelles contacted an

          attorney in New  Hampshire to  discuss the filing  of a  wrongful

          death  suit on behalf of their son's  estate.  The local attorney

          referred plaintiffs to the  California-based law firm of Speiser,

          Krause,  Madole   &amp;  Cook,  presumably  because   of  the  firm's

          reputation for expertise in aircraft litigation.2

                    In  March 1990,  an  attorney at  the California  firm,

          which is not a party to this litigation, sent duplicate originals
                              
          ____________________

          2   In an  affidavit dated January 20,  1995, Mr. Sawtelle stated
          that plaintiffs  obtained the  name of  the California  firm when
          they saw an advertisement  for that firm in a  magazine published
          by  the Aircraft  Owners  and Pilots  Association ("AOPA").   The
          affidavit is identical to an unsigned and undated draft affidavit
          of Mr. Sawtelle except that the draft states that plaintiffs were
          referred to  the California firm  by the New  Hampshire attorney.
          In defendants' counter-affidavit they deny ever having advertised
          in any AOPA publication and, in support of their contention, they
          submitted an  affidavit of an  advertising assistant at  AOPA who
          confirms  that there were no  advertisements for the  law firm in
          the AOPA magazine for the years 1988 through  1991.  The district
          court  discounted the  Sawtelles'  claim that  they retained  the
          California law firm on the basis of a magazine advertisement.  We
          do not disturb that determination.

                                         -3-














          of  a  retainer agreement,  which  had already  been  executed on

          behalf  of the  firm, to  the Sawtelles  in New  Hampshire.   The

          retainer agreement included a provision granting the firm  a lien

          upon  any sum received in  the plaintiffs' cause  of action.  The

          Sawtelles signed the agreement  and returned an executed original

          to  the California firm, which  then transferred the  case to its

          Washington, D.C. (now Rosslyn, Virginia) affiliate, the defendant

          Speiser, Krause, Madole &amp; Lear ("the Speiser firm").

                    The case  was assigned to defendant,  George E. Farrell

          ("Farrell"), a Virginia resident and an attorney with the Speiser

          firm.    Mr. Farrell  is  not  licensed to  practice  law  in New

          Hampshire.  Although Farrell never personally met the plaintiffs,

          he sent at  least fifteen  letters to them  in New Hampshire  and

          spoke to  them  by telephone  on  numerous occasions  during  the

          representation.      Among   the  topics   addressed   in   those

          communications was Farrell's recommendation  that Florida was the

          most advantageous forum for the wrongful death claim.

                    To assist as local  counsel in Florida, Farrell engaged

          the Florida  law firm, defendant,  Podhurst, Orseck,  Josefsberg,

          Eaton,  Meadow,  Olin  &amp;  Perwin,  P.A.  ("the  Podhurst  firm").

          Defendant  Michael S.  Olin  ("Olin"), a  Florida resident  and a

          member of the Podhurst  firm, handled the Sawtelles' claims.   He

          is licensed to practice law in Florida, but not in New Hampshire.

          Like  Farrell, Olin  never personally  met the Sawtelles  but did

          send numerous letters to  them in New Hampshire  and participated




                                         -4-














          in several telephone conversations with them concerning his legal

          representation.

                    In  March 1991,  Attorney Olin  filed a  wrongful death

          action  on behalf of the Sawtelles in the Broward County Judicial

          Circuit  Court  in Florida.   The  complaint  for the  estate was

          signed on behalf  of the Speiser firm and the  Podhurst firm.  In

          July  1991, negotiations  with the  defendants in  the underlying

          wrongful  death claim resulted in a settlement offer of $155,000.

          By  letter dated August 7,  1991, and in  response to plaintiffs'

          concerns regarding the  sufficiency of  the settlement,  Attorney

          Farrell told  the Sawtelles  that "[he]  believe[ed] it  [was] in

          [their]  best interest  to  accept the  settlement."   Plaintiffs

          allege  that  Olin, too,  advised  them, by  telephone,  that the

          settlement was in their best interest.   The Sawtelles ultimately

          accepted the settlement offer.

                    Olin later  became concerned about the  disbursement of

          settlement funds  to Corey  Sawtelle's brother Jason,  who was  a

          minor  at the  time.   To  determine  his obligations  under  New

          Hampshire law, Olin  contacted an attorney  in New Hampshire  for

          advice regarding the distribution of  the funds.  Having obtained

          such advice, Attorney Olin finally disbursed the settlement funds

          in December 1991.

                    The Sawtelles subsequently learned  that: 1) the estate

          of Ronald Brown, Corey's  flight instructor who had also  died in

          the  crash, had filed  a wrongful death  suit in  Florida; 2) the

          action had  been consolidated  with the case  brought by  Corey's


                                         -5-














          estate;  and 3)  the  instructor's  claim  had been  settled  for

          $500,000.   That  discovery prompted  the Sawtelles  to file  the

          present legal malpractice  action against  defendants in  federal

          district court in New Hampshire.

                    The  Sawtelles'  malpractice  claims  allege  that  the

          defendants negligently negotiated an inadequate settlement of the

          wrongful  death claim of their  son's estate.   Among the alleged

          shortcomings in defendants' performance  were the failures: 1) to

          take depositions; 2) to obtain an economist's projection of their

          son's lost earning capacity; and 3) to consult liability  experts

          or engage  in significant  investigative efforts.   The Sawtelles

          further  allege that  defendants negligently  directed settlement

          advice  into New Hampshire (by  telephone and mail), causing them

          to  rely on that  advice and thereby suffer  economic loss in New

          Hampshire.  

                    The defendants  moved to  dismiss for lack  of personal

          jurisdiction.   The motion was  granted by the  district court on

          April 28, 1995, and this appeal followed.



          III.  Analysis
          III.  Analysis

                    When a court's jurisdiction is contested, the plaintiff

          bears the burden of  proving that jurisdiction lies in  the forum

          state.   McNutt v. General Motors Acceptance Corp., 298 U.S. 178,
                   ______    _______________________________

          189  (1936); Dalmau Rodr guez v. Hughes Aircraft Co., 781 F.2d 9,
                       ________________    ___________________

          10  (1st  Cir.  1986).  In  determining  whether  a  non-resident

          defendant  is  subject  to  its  jurisdiction,  a  federal  court


                                         -6-














          exercising diversity jurisdiction  "is the functional  equivalent

          of  a state court sitting in the  forum state."  Ticketmaster, 26
                                                           ____________

          F.3d  at 204;  see  also General  Contracting  &amp; Trading  Co.  v.
                         _________ ____________________________________

          Interpole, Inc. 940 F.2d 20, 23 n.4 (1st  Cir. 1991).   The court
          _______________

          must, therefore,  find sufficient contacts  between the defendant

          and the forum to  satisfy both that state's long-arm  statute and

          the Fourteenth Amendment's Due Process clause.  See Ticketmaster,
                                                          ___ ____________

          26 F.3d at  204; United  Electrical Workers v.  163 Pleasant  St.
                           __________________________     _________________

          Corp., 960  F.2d 1080,  1086 (1st  Cir. 1992)("Pleasant  St. I");
          _____

          Hahn v.  Vermont Law  School, 698 F.2d  48, 51 (1st  Cir. 1983).3
          ____     ___________________

          We explore these requirements seriatim.
                                        ________



                        A.  The New Hampshire Long-Arm Statute
                        A.  The New Hampshire Long-Arm Statute

                    It  is well  established in  diversity cases  that "the

          district  court's   personal  jurisdiction  over   a  nonresident

          defendant is governed by  the forum's long-arm statute." Goldman,
                                                                   ________

          Antonetti, Ferraiouli, Axtmayer &amp;  Hertell v. Medfit Int'l, Inc.,
          __________________________________________    __________________

          982  F.2d 686,  690 (1st  Cir. 1993)(quoting  Pizarro v.  Hoteles
                                                        _______     _______

          Concorde Int'l, C.A.,  907 F.2d 1256, 1258 (1st Cir.  1990)).  In
          ____________________

          the  case   at  bar,  the   group  of  defendants   includes  two

          individuals,  a  professional   association  and  a  partnership.
                              
          ____________________

          3   In Ticketmaster, we observed  that the extent of the required
                 ____________
          jurisdictional showing  by a  plaintiff depends upon  whether the
          litigant  is  asserting jurisdiction  over  a  defendant under  a
          theory of "general" or  "specific" jurisdiction.  26 F.3d  at 204
          n.3;  see also Donatelli v. National Hockey League, 893 F.2d 459,
                ___ ____ _________    ______________________
          462-63 (1st Cir.  1990)(detailing differences).   In the case  at
          hand,  the  Sawtelles'  action  turns  on  a  theory of  specific
          jurisdiction  (i.e., jurisdiction which a state may assert when a
          claim arises directly out of forum-based activities. Id. at 462.
                                                               ___

                                         -7-














          Accordingly, we must consider the New Hampshire long-arm statutes

          applicable to each of these defendants.

                    The New Hampshire  long-arm statute  applicable to  the

          individual defendants, Olin  and Farrell, is N.H. Rev. Stat. Ann.

          ("RSA") 510:4,  I  (Supp. 1994),  which permits  the exercise  of

          personal   jurisdiction  over  a  defendant  who  "transacts  any

          business within [the]  state" or "commits  a tortious act  within

          [the] state."  In Estabrook v. Wetmore, 129 N.H. 520, 523 (1987),
                            _________    _______

          the Supreme Court of New  Hampshire interpreted the latter phrase

          to include situations  where a defendant's out-of-state  activity

          results  in  an  injury  within New  Hampshire.    The  Sawtelles

          exhaustively  argue  that  their  claims  against  the individual

          defendants  satisfy  each  of  the possible  bases  for  personal

          jurisdiction.  Not surprisingly, defendants disagree.

                    We need not  dwell on  this issue.   The New  Hampshire

          long-arm statute  applicable to individuals has  been interpreted

          to  afford  jurisdiction over  foreign  defendants  "to the  full

          extent that the  statutory language and due  process will allow."

          Phelps v. Kingston,  130 N.H. 166, 171 (1987).   As recognized by
          ______    ________

          the court below,  when a state's long-arm  statute is coextensive

          with  the outer  limits  of due  process,  the court's  attention

          properly turns to the  issue of whether the exercise  of personal

          jurisdiction comports with federal constitutional standards.  See
                                                                        ___

          Holt  Oil &amp;  Gas Corp.  v. Harvey,  801 F.2d  773, 777  (5th Cir.
          ______________________     ______

          1986), cert. denied, 481 U.S. 1015 (1987).
                 _____ ______




                                         -8-














                    We  reach  a similar  conclusion  with  respect to  the

          professional association  defendant.   New  Hampshire's  long-arm

          statute governing unregistered foreign corporations,  such as the

          Podhurst  professional association,  is  RSA  293-A:15.10  (Supp.

          1994).   That statute includes  no restriction upon  the scope of

          jurisdiction  available  under  state  law  and  thus  authorizes

          jurisdiction over such entities  to the full extent  permitted by

          the federal Constitution.  See McClary v. Erie Engine &amp; Mfg. Co.,
                                     ___ _______    ______________________

          856 F. Supp. 52, 55 (D.N.H. 1994)(because RSA 293-A:15.10 reaches

          to  the  federal limit,  the  traditional  two-part analysis  for

          personal jurisdiction  "collapses  into the  single  question  of

          whether the constitutional requirements  of due process have been

          met").

                    The appropriate  treatment of the Speiser  firm is less

          clear.   The  New Hampshire  long-arm statutes  do not,  by their

          terms, apply to partnerships,  and the case law does  not discuss

          any long-arm provision  applicable to such entities.   To address

          that  unresolved  issue of  state  law,  the Sawtelles  turn  for

          guidance to RSA 305-A:6-8 (Supp. 1994), which relates to  service

          of process on a foreign partnership.  Observing that service on a

          foreign partnership is treated nearly identically to service on a

          foreign corporation under RSA  293-A:15.10, plaintiffs argue that

          partnerships are  to be  treated as corporations  for determining

          personal jurisdiction.  If that is so, then, as in the individual

          and corporate contexts discussed above, the scope of jurisdiction




                                         -9-














          over  the  Speiser firm  partnership  is  commensurate with  that

          permitted under the Constitution.

                    We find it unnecessary  to resolve this unsettled issue

          of   state  law   because  a   plaintiff  seeking   to  establish

          jurisdiction over  a foreign  defendant must satisfy  the demands

          not only of state law but also of the federal Constitution.  When

          confronted with a similar  quandary in Ticketmaster, we  chose to
                                                 ____________

          bypass the statutory phase  of the jurisdictional inquiry because

          the plaintiff's  case could not  pass constitutional muster.   26

          F.3d  at  206.   We therefore  assume,  arguendo, that  under New
                                                  ________

          Hampshire law the scope of personal jurisdiction over the Speiser

          firm partnership is, as  in the case of the  corporate defendant,

          coextensive with the outer limits of due process.



                              B.  The Due Process Clause
                              B.  The Due Process Clause

                    When  embarking  upon  the  fact-sensitive  inquiry  of

          whether  a   forum  may  assert  personal   jurisdiction  over  a

          defendant, the court's  task is not a  rote, mechanical exercise.

          Indeed,  "[d]ivining personal jurisdiction is 'more an art than a

          science.'" Ticketmaster,  26 F.3d at 206  (quoting Donatelli, 893
                     ____________                            _________

          F.2d  at  468  n.7).    The  Fourteenth  Amendment's  concern  of

          fundamental fairness is achieved  by the central requirement that

          certain "minimum  contacts" exist  between the defendant  and the

          forum state. International Shoe  Co. v. State of Washington,  326
                       _______________________    ___________________

          U.S. 310, 316 (1945); Ticketmaster, 26 F.3d at 206.  This Circuit
                                ____________




                                         -10-














          utilizes  a  three-part  analysis   to  determine  if  sufficient

          contacts exist to exercise specific personal jurisdiction:


                    First,  the  claim underlying  the litigation
                    must directly arise out of, or relate to, the
                    defendant's forum-state  activities.  Second,
                    the   defendant's   in-state  contacts   must
                    represent  a  purposeful  availment   of  the
                    privilege  of  conducting  activities in  the
                    forum  state,  thereby invoking  the benefits
                    and  protections of  that  state's  laws  and
                    making  the defendant's  involuntary presence
                    before   the   state's  courts   foreseeable.
                    Third,  the exercise of jurisdiction must, in
                    light of the Gestalt factors, be reasonable.


          Pleasant St. I,  960 F.2d at 1089; see also  Pritzker v. Yari, 42
          ______________                     ________  ________    ____

          F.3d  53, 60-61 (1st Cir. 1994),  cert. denied, ___ U.S. ___, 115
                                            _____ ______

          S.  Ct. 1959  (1995); Ticketmaster, 26  F.3d at 206.   Central to
                                ____________

          each  step  of  the  established  analysis,  therefore,  are  the

          contacts which are attributable to each defendant in this case.4



          1.  Relatedness.
          1.  Relatedness.

                    Our  first consideration under the tripartite framework

          is  whether the plaintiffs' claim  arises out of,  or relates to,

          defendants' in-forum  activities.  Ticketmaster, 26  F.3d at 206.
                                             ____________

          Although this requirement  is "the least  developed prong of  the

          due  process  inquiry,"  it  serves  the  important  function  of

                              
          ____________________

          4    Under  elemental  principles  of  agency,  the  contacts  of
          Attorneys Olin and Farrell with New Hampshire are attributable to
          the Podhurst and Speiser firm,  respectively. See Pleasant St. I,
                                                        ___ ______________
          960 F.2d at 1090 (contacts of corporation's agent can subject the
          corporation to personal jurisdiction); Donatelli, 893 F.2d at 467
                                                 _________
          (contacts of  a partner  committed in furtherance  of partnership
          business are imputed to the partnership).

                                         -11-














          focusing the court's attention on the nexus between a plaintiff's

          claim and the defendant's contacts with the forum.  Id.; see also
                                                              ___  ________

          Pleasant  St.  I, 960  F.2d at  1089.   Relatively  speaking, the
          ________________

          relatedness test is a  "flexible, relaxed standard," Pritzker, 42
                                                               ________

          F.3d  at  61,  as suggested  by  the  disjunctive  nature of  the

          requirement.  See Ticketmaster, 26 F.3d at 206. 
                        ___ ____________

                    The relatedness requirement is not met merely because a

          plaintiff's cause of action arose out of the general relationship

          between the parties;  rather, the action must  directly arise out

          of the  specific contacts  between  the defendant  and the  forum

          state.   See,  e.g.,  Fournier v.  Best  Western Treasure  Island
                   ___   ____   ________     ______________________________

          Resort, 962  F.2d 126, 127  (1st Cir.  1992)(where plaintiff  had
          ______

          made vacation arrangements in  Massachusetts but was injured out-

          of-state, cause  of  action did  not "arise  from" the  defendant

          resort operator's contacts with  Massachusetts within the meaning

          of the state long-arm  statute); Marino v. Hyatt Corp.,  793 F.2d
                                           ______    ___________

          427 (1st Cir.  1986)(same); Pickens  v. Hess, 573  F.2d 380,  386
                                      _______     ____

          (6th  Cir. 1978)(no personal  jurisdiction over  defendants under

          state  long-arm statute  which extends to  limits of  due process

          when "the cause of action between the parties did not  arise from

          any  acts of  the defendants  in [the  forum state]");  Bryant v.
                                                                  ______

          Weintraub,  Genshlea, Hardy, Erich &amp; Brown, 844 F. Supp. 640, 642
          __________________________________________

          (D. Or. 1994) (where Oregon resident sued California law firm for

          failure  to  obtain  service  in  California,  the  injury  arose

          directly  from  alleged  malpractice  in California  and  had  no

          connection to the  firm's other Oregon contacts), aff'd,  42 F.3d
                                                            _____


                                         -12-














          1398  (9th Cir. 1994).   We therefore must  consider the contacts

          between the  defendants and  the forum  state viewed  through the

          prism of plaintiffs' legal malpractice claim.

                    Of the limited contacts  between the defendants and New

          Hampshire during their legal  representation, few are relevant to

          the  Sawtelles' claim  of legal  malpractice and thus  few assist

          them in satisfying the  relatedness element of the jurisdictional

          inquiry.  For  the Virginia defendants, Attorney Farrell  and the

          Speiser  firm, the relevant contact was the August 7, 1991 letter

          mailed  to  the plaintiffs  in  New Hampshire,  in  which Farrell

          stated that he believed it to be in the Sawtelles' best interests

          to  accept  the  $155,000  settlement  offer.    For the  Florida

          defendants,  Attorney Olin  and the  Podhurst firm,  the relevant

          contact  with   the  forum,   for  purposes  of   the  Sawtelles'

          malpractice claim,  was Olin's telephone call to New Hampshire in

          which he concurred in the settlement recommendation.

                    The transmission of  information into New Hampshire  by

          way of telephone or mail is unquestionably a contact for purposes

          of our analysis.  See Burger  King Corp. v.  Rudzewicz, 471  U.S.
                            ___ __________________     _________

          462, 476 (1985).   It  would, however, be  illogical to  conclude

          that  those isolated  recommendations  constituted the  negligent

          conduct that  caused the  Florida injury  and thus were  in-forum

          acts sufficient  to establish  specific personal  jurisdiction in

          New  Hampshire.5  A review of all the allegedly negligent actions
                              
          ____________________

          5   The  injury suffered  by  the Sawtelles  as a  result of  the
          alleged  negligent  activities--the loss  of  their  right to  an
          adequate  recovery on  the wrongful  death claim  which  had been

                                         -13-














          of the  defendants preceding  the injury indicates  numerous non-

          forum  decisions  reached  by  the  defendants  in  Virginia  and

          Florida,  but not  in  New Hampshire.    It was  the  defendants'

          investigation, in  Florida  and Virginia,  which  informed  their

          judgment  about   the  amount  and  propriety   of  the  proposed

          settlement.   In short, it  was the aggregate  of the defendants'

          allegedly negligent  acts and omissions which  caused the Florida

          injury, and the out-of-forum  negligence was the effective cause.

          See Ticketmaster,  26 F.3d at 207;   Pleasant St. I,  960 F.2d at
          ___ ____________                     ______________

          1089  (noting how  causation  principles inform  the due  process

          analysis).

                    In  its analysis  of  the relatedness  requirement, the

          district  court  relied   upon  Kowalski  v.   Doherty,  Wallace,
                                          ________       __________________

          Pillsbury &amp; Murphy, 787 F.2d  7 (1st Cir. 1986).  In  Kowalski, a
          __________________                                    ________

          New Hampshire  resident filed  suit in  New  Hampshire against  a

          Massachusetts  law firm  alleging that  the firm  had negligently

          permitted the  dismissal  of a  wrongful  death suit  pending  in

          Massachusetts.   Id. at 8.   Although the  firm was aware  of its
                           ___

          client's  New  Hampshire  residency  at  the  time  it  filed the

          wrongful death action,  this Court affirmed the  dismissal of the

          malpractice action  for lack  of personal jurisdiction  under the

          New Hampshire long-arm  statute.   In so doing,  we rejected  the

          plaintiff's contention that, because  the "effects" of the firm's

                              
          ____________________

          filed  in  Florida--occurred  in  Florida when  the  state  court
          approved the  recommended settlement  and terminated  the pending
          lawsuit. See  Kowalski v.  Doherty, Wallace, Pillsbury  &amp; Murphy,
                   ___  ________     _____________________________________
          787 F.2d 7, 11 (1st Cir. 1986).

                                         -14-














          negligence were felt in New Hampshire, the law firm had caused an

          injury there by conduct directed  at that forum.  See id.  at 11.
                                                            ___ ___

          Instead, we observed that:


                    [the client's] injury  occurred when the suit
                    was  dismissed  by  the Massachusetts  court.
                    The  consequence of  the  dismissal  is  that
                    plaintiffs   are   barred  from   bringing  a
                    wrongful  death  action in  the Massachusetts
                    courts.    The  injury, if  any,  occurred in
                    Massachusetts.


          Id.;  see also  Cote  v.  Wadel,  796 F.2d  981,  984  (7th  Cir.
          ___   ________  ____      _____

          1986)(where the negligence of  a Michigan law firm resulted  in a

          Wisconsin  plaintiff  losing  "a  valuable  property in  Michigan

          consisting of  a cause of  action against a  doctor, . .  . [t]he

          handful  of  letters and  phone  calls" that  passed  between the

          client and firm was not enough for personal jurisdiction over the

          firm in Wisconsin).

                    The Sawtelles attempt to  distinguish Kowalski and Cote
                                                          ________     ____

          by  pointing out  that, unlike  the  instant action,  those cases

          involved  legal  malpractice claims  based  upon  the failure  of

          attorneys to  comply with  procedural rules, thereby  causing the

          loss of  rights of their respective clients.   In such cases, the

          Sawtelles contend,  the exercise  of personal jurisdiction  would

          have been improper  because the malpractice actions did not arise

          out of the contacts  between the attorneys and the  forum states.

          In contrast,  the plaintiffs  argue that their  malpractice claim

          satisfies  the relatedness  requirement  because  the  defendants

          directed negligent settlement advice into New Hampshire,  thereby


                                         -15-














          causing plaintiffs harm  in New  Hampshire as a  result of  their

          reliance upon such advice.

                    We  are  not   convinced  that   the  plaintiffs   have

          distinguished themselves from  the plaintiff in Kowalski.  It may
                                                          ________

          be  true  that  the   defendants'  alleged  malpractice  was  not

          consummated  until they communicated their misconceived advice to

          plaintiffs  in  New  Hampshire  by  telephone and  mail  and  the

          plaintiffs' relied on the advice to their detriment.  Ultimately,

          however,  the  gravamen of  the  Sawtelles'  claim is  that  they

          suffered  in  New  Hampshire  the "effects"  of  the  defendants'

          negligence  committed elsewhere.  See Kowalski,  787 F.2d  at 11.
                                            ___ ________

          The communications sent into New Hampshire were ancillary  to the

          allegedly  negligent  non-forum  activities,  and  because  those

          communications were the only relevant contacts with the forum for

          purposes of  the Sawtelles'  malpractice claim, we  conclude that

          the plaintiffs' showing of relatedness should be characterized as

          tenuous at best.  It hangs, as it were, by a thread.



          2.  Purposeful Availment.
          2.  Purposeful Availment.

                    We  next consider whether defendants' contacts with New

          Hampshire represent  a purposeful availment by  defendants of the

          privilege  of conducting business in that State.  The function of

          the purposeful  availment requirement is to  assure that personal

          jurisdiction is  not premised solely upon  a defendant's "random,

          isolated,  or  fortuitous" contacts  with  the  forum state.  See
                                                                        ___

          Keeton  v. Hustler Magazine, Inc., 465 U.S. 770, 774 (1984).  Our
          ______     ______________________


                                         -16-














          focus  is on whether a  defendant has "engaged  in any purposeful

          activity related to  the forum  that would make  the exercise  of

          jurisdiction  fair, just,  or reasonable."  Rush v.  Savchuk, 444
                                                      ____     _______

          U.S.  320, 329  (1980).   In Ticketmaster, 26  F.3d at  207, this
                                       ____________

          Court  observed that the  cornerstones upon which  the concept of

          purposeful availment rest are voluntariness and foreseeability.  



          a.  Voluntariness
          a.  Voluntariness

                    The Sawtelles contend  that the requisite voluntariness

          is   present   because  "in   the   context   of  attorney-client

          relationships the act of knowingly  agreeing to represent an out-

          of-state client is plainly sufficient."  Plaintiffs' Brief at 36.

          Plaintiffs aim to bolster their argument by pointing to their law

          firms'  alleged  promotion  of  their  reputations  beyond  their

          respective borders.  We consider these arguments in turn.

                    At the time  they agreed  to provide  legal advice  and

          representation  to  the  plaintiffs,  the   defendants  knew  the

          Sawtelles were residents of  New Hampshire.  Defendants' contacts

          with New  Hampshire, however, were limited  to communicating with

          the clients in their  home state.  The wrongful  death litigation

          was prosecuted in Florida, while other legal services  were being

          rendered  in Florida and other  places outside New  Hampshire.  A

          review of the totality of the defendants' contacts with the forum

          state leaves us gravely doubtful that the defendants purposefully

          availed  themselves  of  the  benefits  and  protections  of  New

          Hampshire law.


                                         -17-














                    The  Eighth  Circuit case  of  Austad Co.  v.  Pennie &amp;
                                                   __________      ________

          Edmonds, 823 F.2d  223 (8th  Cir. 1987), is  instructive on  this
          _______

          requirement for personal jurisdiction.  In Austad, a New York law
                                                     ______

          firm  represented  a South  Dakota  client  in patent  litigation

          pending in Maryland.   The  contacts between the  firm and  South

          Dakota during the  representation included numerous  phone calls,

          mailings,  and a three-day factfinding visit to South Dakota by a

          lawyer from the firm. See  id. at 224-25.  The client  later sued
                                ___  __

          the  firm for  malpractice  in federal  district  court in  South

          Dakota.  The  Court of Appeals held that the defendant law firm's

          contacts  with  the  forum   were  insufficient  to  satisfy  the

          "purposeful availment" requirement, stating:

                    While  we do not dispute [the client's] claim
                    that an  attorney-client relationship existed
                    between [the parties], we do not believe that
                    [the firm] had sufficient contacts with South
                    Dakota to confer personal jurisdiction.



          823 F.2d  at 226.  The  Austad court thus deemed  the firm's only
                                  ______

          "substantial   connection"   with   the  forum,   its   voluntary

          representation  of  a  South  Dakota  corporation  in  litigation

          outside  of South Dakota, as insufficient to support a finding of

          purposeful availment.  See id. at 227.
                                 ___ ___

                    In the case at  bar, as in Austad, the contacts  of the
                                               ______

          defendants with New Hampshire  were limited, consisting primarily

          of written and telephone  communications with the clients in  the

          state where they happened to live.  Compare  Sher v. Johnson, 911
                                              _______  ____    _______

          F.2d 1357, 1362-63  (9th Cir. 1990) (contacts between  client and


                                         -18-














          non-resident law  firm consisting  of telephone  calls, mailings,

          and three visits by  lawyer to forum state  to visit client  were

          not,  by  themselves,   sufficient  connections  with  forum   to

          establish purposeful availment) with Trinity Industries,  Inc. v.
                                          ____ _________________________

          Myers  &amp;  Associates,  Ltd.,  41  F.3d  229,   230-31  (5th  Cir.
          ___________________________

          1995)(jurisdiction over  an Illinois  law firm  sued  by a  Texas

          client  for   malpractice  was   upheld  because  the   firm  had

          purposefully availed  itself of  privileges of doing  business in

          Texas by extended  representation of  the client in  at least  40

          matters, including a court appearance in the forum).

                    The mere existence of an  attorney-client relationship,

          unaccompanied by  other sufficient contacts with  the forum, does

          not  confer personal  jurisdiction over  the non-resident  in the

          forum state; more is required.  See Burger King, 471 U.S. at 479-
                                          ___ ___________

          80;  Hanson  v.  Denckla,  357  U.S.  235,  253  (1958);  Trinity
               ______      _______                                  _______

          Industries,  41  F.3d  at  230  &amp; n.6;  Cote,  796  F.2d  at  984
          __________                              ____

          ("[p]ersonal jurisdiction over nonresidents...is a quid for a quo

          that  consists  of  the  state's extending  protection  or  other

          services to  the nonresident").    In this  case, the  defendant-

          attorneys' only connection with  New Hampshire was the Sawtelles'

          residence there. See Trinity Industries, 41 F.3d at 231 n.8.
                           ___ __________________

                    The case on  which the plaintiffs  rely as "most  like"

          the  instant action  is Waterval  v. District  Court, 620  P.2d 5
                                  ________     _______________

          (Colo. 1980), cert.  denied, 452  U.S. 960 (1981),  in which  the
                        _____  ______

          Colorado  courts exercised jurisdiction  over a Virginia attorney

          who  had  rendered negligent  financial  services  to a  Colorado


                                         -19-














          resident.   In Waterval,  the attorney-client  relationship arose
                         ________

          when both  parties were  residents of  Virginia and  the attorney

          established and  oversaw for the  client the administration  of a

          discretionary investment account in  a Virginia bank.  Id.  at 7.
                                                                 ___

          After  the   client  moved  to   Colorado,  the   attorney-client

          relationship  continued when  the  lawyer handled  a real  estate

          transaction  in connection with the sale of his client's house in

          Virginia.     He  later  dealt  negligently,   by  telephone  and

          correspondence, with  the client  in Colorado  with respect  to a

          recommended   transfer  and   eventual  liquidation   of  certain

          investment account assets.  Id.  
                                      ___

                    After   determining   that   the   defendant-attorney's

          contacts  satisfied the  Colorado long-arm statute,  the Waterval
                                                                   ________

          court  held  that the  exercise  of  jurisdiction comported  with

          federal due process requirements.   Id. at 7-8.   With respect to
                                              ___

          the issue  of purposeful  availment, the court  described several

          contacts  between the  defendant and  the  forum state  but, most

          significantly, that defendant voluntarily: 

                    1)  chose  to  continue   an  attorney-client
                    relationship which had originated in Virginia
                    even after the client had moved to Colorado,

                    2) engaged  in contacts which  were "personal
                    in  character and resulted  in a tangible and
                    monetary benefit to [himself]," and

                    3) acted in a way to impact directly upon the
                    legal and financial  interests of a  Colorado
                    resident.


          Id. at  10.  Because the  cause of action stemmed,  in part, from
          ___

          the  adverse  consequences  of defendant's  negligent  legal  and

                                         -20-














          financial counseling directed to a Colorado resident over a  two-

          year  period,  the  court  concluded that  defendant  could  have

          reasonably  anticipated  being held  accountable in  Colorado for

          those activities.  Id.
                             ___

                    The  instant action  is  distinguishable.   Whereas Mr.

           Sawtelle initially  contacted the  Speiser firm which,  in turn,

          retained the  Podhurst firm,  the defendant-attorney in  Waterval
                                                                   ________

          initiated   contact  and  actively   solicited,  and  negligently

          handled, his  client's investment  business after the  client had

          moved  to Colorado.   Furthermore,  the relationship  between the

          Sawtelles and the Speiser firm was not extended and was much less

          pervasive than the relationship in Waterval.
                                             ________

                    The Sawtelles next attempt to demonstrate the requisite

          voluntariness  by   claiming  that  the  defendants'  efforts  to

          cultivate  their  images  as "national"  firms  were  deliberate,

          significant activities within the forum sufficient to satisfy the

          purposeful availment requirement.   See Burger King, 471  U.S. at
                                              ___ ___________

          475-76;  Keeton, 465  U.S. at  781.   For example,  the Sawtelles
                   ______

          point to the Podhurst  firm's listing in Martindale-Hubbell which

          proudly reports of "serv[ing] clients and corporations throughout

          the  United States."6  As  a result of  those efforts, plaintiffs

          contend, the defendants purposefully  derived benefits from their

          interstate activities.
                              
          ____________________

          6  Plaintiffs  seek to fortify this argument by  reference to the
          Speiser  firm's  alleged  advertisement  in  an AOPA  publication
          discussed in note 2, supra.  For the reasons articulated therein,
                               _____
          we  choose   to  disregard  the  discounted   allegation  in  our
          consideration of purposeful availment.

                                         -21-














                      This  Court  has  previously declined  to  adopt  the

          "stream of commerce"  theory of personal jurisdiction,  a form of

          which  is thus advanced  by the Sawtelles.   See  Boit v. Gar-Tec
                                                       ___  ____    _______

          Products,  Inc., 967  F.2d 671,  681-82 (1st  Cir.  1992); Dalmau
          _______________                                            ______

          Rodr guez v. Hughes Aircraft Co., 781 F.2d 9, 15 (1st Cir. 1986).
          _________    ___________________

          We are guided to this conclusion by the Supreme Court's rejection

          of  the claim that a  commercial enterprise should  be subject to

          personal jurisdiction  wherever  its conduct  foreseeably  causes

          injury, regardless of whether  the defendant directed its conduct

          toward the forum state.  See  Asahi Metal Indus. Co. v.  Superior
                                   ___  ______________________     ________

          Court  of California, 480 U.S. 102, 112 (1987) ("The placement of
          ____________________

          a product into the  stream of commerce,  without more, is not  an

          act  of  the defendant  purposefully  directed  toward the  forum

          State").   

                    The   Podhurst   firm's   promotional  activity   falls

          substantially short of sufficing to subject that firm to personal

          jurisdiction  in New Hampshire.   First, the  Florida firm became

          involved  in the  subject  representation not  as  the result  of

          affirmative  efforts to  promote business  in New  Hampshire, but

          only  after being  requested  by the  Virginia  firm to  commence

          litigation  in Florida.  More importantly,  to treat the Podhurst

          firm's general statement in  Martindale-Hubbell as a sufficiently

          direct "targeting" of New Hampshire would, in effect, embrace the

          "stream of  commerce" theory of personal  jurisdiction which this

          Court has already rejected.  See Boit, 967 F.2d at 681-82; Dalmau
                                       ___ ____                      ______

          Rodr guez, 781 F.2d at 15.
          _________


                                         -22-














          b.  Foreseeability
          b.  Foreseeability

                    Bearing  in mind  the second  pillar of  the purposeful

          availment  requirement,  we proceed  to  consider  the Sawtelles'

          contention  that it was foreseeable  that the defendants would be

          haled  into a  New Hampshire  court as  a result  of their  legal

          representation of  New Hampshire  residents.  The  enforcement of

          personal   jurisdiction  over   a   non-resident   defendant   is

          foreseeable  when that  defendant  has  established a  continuing

          obligation  between itself and the forum state.  See Burger King,
                                                           ___ ___________

          471 U.S. at  476; Travelers  Health Ass'n v.  Virginia, 339  U.S.
                            _______________________     ________

          643, 648  (1950).  Among  the continuing obligations  between the

          defendants and the forum  state relied upon by the  Sawtelles are

          1)  the involvement of New  Hampshire law in  the distribution of

          the settlement proceeds, and 2) the contract by which the Speiser

          firm  obtained a lien on any proceeds received in connection with

          the plaintiffs' cause of action.

                    We  are underwhelmed  by the  force of  the plaintiffs'

          argument.   The requirements of New Hampshire law with respect to

          the distribution of settlement proceeds procured from the Florida

          litigation has no bearing upon the question of whether or not the

          defendants  purposefully availed  themselves of  that law.   More

          importantly, although  the plaintiffs required the  assistance of

          New Hampshire counsel in  order to distribute settlement proceeds

          to their  minor son, the defendant law firms themselves performed

          no legal services in New Hampshire in that regard.




                                         -23-














                    In support of their contention that the lien granted to

          the Speiser firm by the retainer agreement constitutes purposeful

          availment of  the privileges and  benefits of New  Hampshire law,

          the  Sawtelles rely upon Sher v. Johnson, 911 F.2d 1357 (9th Cir.
                                   ____    _______

          1990).   Sher  involved a  legal  malpractice action  brought  in
                   ____

          California by  a resident of  that State who had  hired a Florida

          law  firm to represent him in a  criminal matter in Florida.  The

          Florida  firm's contact with California included:  1) phone calls

          and letters sent to  the client; 2) three California  visits with

          the client by a member of the firm; and 3) execution of a deed of

          trust whereby the law  firm obtained a lien on the  client's home

          in California.  Id. at 1360.
                          ___

                    In  reversing  the district  court's  dismissal of  the

          malpractice action  for lack of personal  jurisdiction, the Ninth

          Circuit  Court of Appeals found that the deed of trust tipped the

          scale in favor of a finding of purposeful availment.   See id. at
                                                                 ___ ___

          1363.  Although neither the written and telephonic communications

          nor the  California visits sufficed, by  themselves, to establish

          purposeful availment,  the addition of the execution  of the deed

          of trust  signified a sufficient  invocation of the  benefits and

          protections  of the laws of California to warrant the exercise of

          jurisdiction.  See id.  at 1363-64.  The Court reasoned  that the
                         ___ ___

          security    interest     "contemplated    [significant]    future

          consequences" in the forum-state, i.e., perfecting an interest in

          real   estate  would  require   recording  in  California,  while

          obtaining and enforcing a judgment on the deed would require both


                                         -24-














          the  application   of  the  forum's  law  and   court  action  in

          California.  Id. at 1363.
                       ___

                    The Sher decision  is readily distinguishable from  the
                        ____

          case before  us, however.  While  the deed of trust  in Sher gave
                                                                  ____

          the  Florida partnership  a  security interest  in real  property

          located in California, the  lien granted to the Speiser  firm did

          not  encumber or affect title  to any New  Hampshire real estate.

          The  Speiser  lien was  a  transitory  obligation which  traveled

          wherever  the Sawtelles or the  holder of the  proceeds might go.

          Even  without a lien, a contractual obligation to pay the Speiser

          firm's  fee  existed,  an  obligation  enforceable  wherever  the

          Sawtelles  were  located.    Unlike  the  Sher  deed   of  trust,
                                                    ____

          therefore, the Speiser lien required no entanglement with the law

          of the forum state.

                    Consequently,  the frailty  of  plaintiffs' showing  at

          this second stage of  the personal jurisdiction analysis  is even

          more  pronounced  than   the  tenuous  showing  of   relatedness,

          discussed supra.  This "thread" is frayed and tattered.  The mere
                    _____

          act of  agreeing to represent (and then  representing) an out-of-

          state  client,  without more,  does  not  suffice to  demonstrate

          voluntary purposeful availment of the benefits and protections of

          the  laws of the client's  home state.   Furthermore, the alleged

          continuing obligation between the defendants and New Hampshire is

          virtually non-existent.  Ultimately, the  weakness of plaintiffs'

          arguments  with respect to the  first two stages  of the personal

          jurisdiction analysis  provides  insufficient support  for  their


                                         -25-














          appeal, even when stitched together with their argument as to the

          final stage, to which we now turn.



          3.  The Gestalt Factors.
          3.  The Gestalt Factors.

                    A  court's  jurisdictional  inquiry  is  not  merely  a

          "mechanical exercise," Ticketmaster, 26 F.3d at 208, and concepts
                                 ____________

          of reasonableness must illuminate the  minimum contacts analysis.

          See  World-Wide  Volkswagen  Corp.,  444 U.S.  286,  292  (1980);
          ___  _____________________________

          Pleasant  St. I,  960 F.2d  at 1088  ("[E]ven where  purposefully
          _______________

          generated  contacts exist,  courts  must  consider  . .  .  other

          factors which bear upon the fairness of subjecting [nonresidents]

          to the authority of a foreign tribunal").  The Supreme Court  has

          identified five such considerations,  which this Court has termed

          the "gestalt  factors": (1) the defendant's  burden of appearing;

          (2) the forum state's  interest in adjudicating the dispute;  (3)

          the plaintiff's  interest in  obtaining convenient  and effective

          relief;  (4) the judicial system's interest in obtaining the most

          effective  resolution  of the  controversy;  and  (5) the  common

          interests  of  all  sovereigns  in  promoting  substantive social

          policies.   See Burger King, 471 U.S. at 477.  Although this part
                      ___ ___________

          of the jurisdictional analysis has parameters which are  not well

          defined, we know  it serves  the purpose of  assisting courts  to

          achieve  substantial justice.   See Pritzker,  42 F.3d  at 63-64;
                                          ___ ________

          Ticketmaster, 26 F.3d at 209.
          ____________






                                         -26-














                    In   Ticketmaster,   this  Court   observed   that  the
                         ____________

          reasonableness  stage of  the  jurisdictional  analysis evokes  a

          sliding scale:


                    [T]he weaker the  plaintiff's showings on the
                    first two prongs (relatedness  and purposeful
                    availment), the less a defendant need show in
                    terms    of   unreasonableness    to   defeat
                    jurisdiction.   The reverse  is equally true:
                    an     especially    strong     showing    of
                    reasonableness   may   serve  to   fortify  a
                    borderline   showing   of   relatedness   and
                    purposefulness.


          26 F.3d at 210.  Moreover, we note that a  failure to demonstrate

          the necessary minimum contacts eliminates  the need even to reach

          the issue of reasonableness:  "[t]he [g]estalt factors  come into

          play only  if the  first two  segments of  the test for  specific

          jurisdiction have been fulfilled."   Pleasant St. I, 960  F.2d at
                                               ______________

          1091 n.11.  We  proceed to consider the gestalt  factors, bearing

          in  mind  the  flimsy  showings  of  relatedness  and  purposeful

          availment made by the plaintiffs in this case.



          a.  The Defendants' Burden of Appearance
          a.  The Defendants' Burden of Appearance

                    The extent of the burden  on the defendants to litigate

          the  malpractice action in New Hampshire  falls short of reaching

          constitutional  significance.    For  Attorney  Farrell  and  the

          Speiser  firm, the burden of defending in New Hampshire would not

          be  substantively  different from  the  burden  of litigating  in

          Florida.   Of course, the comparative burden on Attorney Olin and

          the  Podhurst firm  of litigating  in  New Hampshire  rather than


                                         -27-














          their  home state would be  greater.  In  Pritzker, however, this
                                                    ________

          Court recognized that defending  in a foreign jurisdiction almost

          always  presents some  measure of  inconvenience, and  hence this

          factor becomes meaningful  only where a  party can demonstrate  a

          "special or unusual burden." 42 F.3d at 64.  When, as here, a law

          firm  regularly represents  clients  outside its  home state,  we

          conclude that the burden is neither special nor unusual.



          b.  The Forum State's Adjudicatory Interest
          b.  The Forum State's Adjudicatory Interest

                    This Court has recently observed that "[t]he purpose of

          [this] inquiry is not to compare the  forum's interest to that of
                                   _______

          some other jurisdiction, but to determine the extent to which the

          forum  has an interest."  Foster-Miller, Inc. v. Babcock &amp; Wilcox
                 ___                ___________________    ________________

          Canada, 46 F.3d 138, 151  (1st Cir. 1995)(emphasis in  original).
          ______

          Although  it  is  true that  a  forum  state  has a  demonstrable

          interest in  obtaining jurisdiction  over a defendant  who causes

          tortious  injury within its borders, see Ticketmaster, 26 F.3d at
                                                   ____________

          211,  New Hampshire  has a  far less  compelling interest  in the

          prosecution of  a legal malpractice suit stemming  from an injury

          that  occurred outside of its borders.  Here, the acts comprising

          the  defendants'  alleged  negligence  occurred  almost  entirely

          outside  of  New  Hampshire.   See  Donatelli,  893  F.2d at  472
                                         ___  _________

          ("[A]part  from a generalized concern  for the rights  of its own

          domiciliaries,  the  [forum]  state   has  no  real  interest  in

          adjudicating the  controversy").   This factor thus  cuts against

          jurisdiction.


                                         -28-
















          c.  The Plaintiffs' Interest in Obtaining Convenient Relief
          c.  The Plaintiffs' Interest in Obtaining Convenient Relief

                    The  third  factor  to  consider   is  the  plaintiffs'

          interest  in obtaining convenient and  effective relief.  We need

          not dwell long  here.  This Court has repeatedly  observed that a

          plaintiff's  choice  of  forum  must  be  accorded  a  degree  of

          deference  with respect to the issue of its own convenience. See,
                                                                       ___

          e.g., Foster-Miller, Inc., 46  F.3d at 151; Pritzker, 42  F.3d at
          ____  ___________________                   ________

          64; Ticketmaster, 26 F.3d at 211.  Here, unquestionably, it would
              ____________

          be  more   convenient  for   the  Sawtelles  to   litigate  their

          malpractice claim in their home state rather than elsewhere.



          d.  The Administration of Justice
          d.  The Administration of Justice

                    We  next  evaluate  the judicial  system's  interest in

          obtaining  the  most  effective resolution  of  the  controversy.

          Although the Virginia defendants  contend that this consideration

          would  best be satisfied by litigating the case in Florida, where

          some of the defendants reside and where the wrongful death action

          was pending, as in  our oft-cited earlier case, "the  interest of

          the judicial  system in  the effective administration  of justice

          does  not appear to cut in either direction" here.  Ticketmaster,
                                                              ____________

          26 F.3d at 211.



          e.  Pertinent Policy Arguments
          e.  Pertinent Policy Arguments

                    This final "gestalt" factor requires us to consider the

          common  interests  of  all  sovereigns  in  promoting substantive


                                         -29-














          social policies.   Here, the most prominent  policy implicated is

          the ability  of a  state to  provide a  convenient forum for  its

          residents to redress  injuries inflicted by out-of-forum  actors.

          See  Burger King,  471 U.S.  at 473.   This policy  assumes added
          ___  ___________

          importance in  our age of advanced  telecommunications, which has

          so  facilitated  the  representation  of  geographically  distant

          clients that it is not uncommon for a firm to  represent a client

          without meeting him or her in person or traveling to the client's

          state of residence.  

                    Although  the concept  of  long-arm  jurisdiction  must

          adjust as  technological  advances render  blurry the  boundaries

          between the states, see World-Wide Volkswagen, 444 U.S. at 308-09
                                  _____________________

          (Brennan, J., dissenting), we must heed the warning that "it is a

          mistake  to assume that this trend heralds the eventual demise of

          all restrictions  on the personal jurisdiction  of state courts."

          Pickens v. Hess, 573 F.2d 380, 387 (6th Cir. 1978)(quoting Hanson
          _______    ____                                            ______

          v. Denckla, 357 U.S. at 251).  To permit the exercise of personal
             _______

          jurisdiction over the defendants in  this case would require this

          Court to disregard that sage advice.



          IV.  Conclusion
          IV.  Conclusion

                    In review, the Sawtelles  have demonstrated little more

          than  a bare  minimum, if  that,  with respect  to the  first two

          stages  of the due process  inquiry.  The  plaintiffs' showing of

          relatedness is weak because their claim for legal malpractice did

          not  directly arise out of, nor was it related (in any meaningful


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          way)  to the law firms'  contacts with New  Hampshire.  Moreover,

          the law  firms' telephone communications and  correspondence into

          the forum did not represent a "purposeful availment" by the firms

          of  the  privilege  of  conducting  business  activities  in  New

          Hampshire.    The  law  firms  did  not meaningfully  invoke  the

          benefits and protections  of the  laws of New  Hampshire and  the

          haling of such  defendants into  New Hampshire's  courts was  not

          foreseeable.

                    The frailty of plaintiffs'  showings on relatedness and

          purposeful  availment  is not  strengthened  as a  result  of our

          consideration  of   the   reasonableness  of   an   exercise   of

          jurisdiction  over  the  defendants  by a  New  Hampshire  court.

          Although the  exercise  of  jurisdiction may  be  proper  when  a

          borderline  showing of  relatedness and  purposeful  availment is

          supported by  an especially solid showing  of reasonableness, see

          Ticketmaster,  26  F.3d at  210,  our "gestalt"  analysis  in the
          ____________

          instant   case   fails   to   reveal  any   such   fortification.

          Accordingly, the decision of the district court is AFFIRMED. 
                                                             AFFIRMED


















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